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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


 EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                         RESPONSE TO APPLE’S OBJECTIONS
                  Defendant, Counterclaimant.        TO SPECIAL MASTER RULINGS ON
                                                     APPLE INC.’S PRODUCTIONS OF RE-
                                                     REVIEWED PRIVILEGE DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following short Responses to
Apple’s Objections to the Special Masters’ rulings (“Objections”), which were filed on January 21,
2025. (Dkt. 1125.)
        Epic does not have access to the documents, and is therefore unable to fully assess the
privilege claims. Based on the information that Apple has provided to Epic and the Special Masters,
Epic responds to the Objections as follows:
           •   Entry Nos. 202 and 241—Apple misleadingly claims as to both Entries that
               “[w]hile Apple initially withheld the entire document for privilege, Apple now
               asserts that only limited portions” of these Entries in fact reflect legal advice. (Dkt.
               1125 at 2, 3.) Not so. Apple initially withheld both documents completely during
               its first review; Apple then re-reviewed both documents and maintained its
               untenable assertions, seeking to withhold both documents in their entirety. (See
               Dkt. 1125 at Exhibit A, noting “Withhold” for both documents in the “Redact or
               Withhold” column.) It is only after Judge Gutierrez rejected Apple’s attempt to
               withhold these documents that Apple now, for the first time, claims that “only
               limited portions” of these documents supposedly reflect legal advice. That is an
               improper basis for an Objection. Under the Protocol, Judge Gutierrez was
               required to “determine whether to overrule or sustain each of Apple’s privilege
               assertions” (Dkt. 1092 at 1(d)); Judge Gutierrez faithfully made that determination,
               and Apple concedes that Judge Gutierrez’s decision to overrule the privilege claim
               Apple actually presented to him was correct. Judge Gutierrez was not required to
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                 consider a narrower privilege assertion that Apple never presented, and Apple
                 should not be allowed to use the Objection process to present new privilege
                 assertions, having failed in its attempt to sustain admittedly improper privilege
                 claims.
                         Turning to the substance of Apple’s objections regarding these Entries, Epic
                 notes that the custodians of both documents are non-lawyers, that the documents in
                 question apparently involved multiple non-lawyers, and that the discussions
                 reflected apparently pertained to topics such as “business operations”. (Dkt. 1125
                 at 3.) Should the Court decide to consider the merits of Apple’s Objections
                 regarding these Entries, any redactions should be minimal and should only cover
                 only actual legal advice, to the extent any such advice is reflected in either
                 document.1

            •    Entry Nos. 276-279—Entry No. 276, like Entry Nos. 202 and 241 discussed above,
                 is another document that Apple sought to withhold in its entirety yet now concedes
                 that “only certain parts” of the document actually reflect legal advice. For the
                 reasons stated above, Apple should not be allowed to object to a Special Master
                 decision to reject a privilege assertion that Apple now admits was at the very least
                 overbroad.
                         As to the substance of the documents, Apple concedes that no lawyers were
                 involved in the discussion reflected in Entry No. 276, and thus any redaction should
                 be limited to only statements that clearly reveal the substance of legal advice. As
                 to Entry Nos. 277-279, Apple claims these attachments, sent and received by non-
                 lawyers, are “working drafts” that were reviewed by counsel and “reflect legal
                 advice from outside counsel in the form of revisions to draft documents made by
                 outside counsel”. (Dkt. 1125 at 4.) To the extent the documents show what the
                 specific revisions attributable to counsel are, Epic does not contest such revisions
                 are privileged. If, however, the documents do not disclose which revisions (if any)
                 were made by counsel, then the documents are not privileged under this Court’s
                 December 2 Order (Dkt. 1056 at 2, rejecting Apple’s “before and after” argument),
                 Apple should not have submitted them for review by the Special Masters, and the
                 Special Masters’ determination to reject the privilege assertion is proper and should
                 be upheld.

             •   Entry No. 1551—Given Apple’s explanation in its Objections (as distinct from its
                 entirely insufficient explanation in its relevant privilege log entry), Epic does not
                 contest Apple’s privilege assertion as to this Entry.

             •   Entry Nos. 2706 and 2708—The custodians for Entry No. 2706 are Phil Schiller,
                 Matt Fischer and Carson Oliver, all non-lawyer executives at Apple. The
                 custodians for Entry No. 2708 are Eddy Cue, Craig Federighi, Matt Fischer, Phil

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  Epic notes that two children of Entry No. 241 (Entry Nos. 242 (PRIV-APL-EG_00016926) and 244 (PRIV-APL-
EG_00016928)), which Apple submitted to the Special Master Panel as privileged, are scare screens of the type this
Court has already ruled were not privileged and that Apple was therefore required to downgrade and produce, rather
than provide to the Special Masters for further review. Judge Gutierrez appropriately ruled that these documents
were not privileged, and Apple does not contest that finding.

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            Schiller and Greg Joswiak, all non-lawyer executives at Apple. Apple does not
            claim the documents reveal the contents of any legal advice sought or provided;
            rather, it claims that certain text in the documents “discloses the existence” of other
            communications that, in turn, contain legal advice. (Dkt. 1125 at 6.) That is not a
            proper claim of privilege. Indeed, every privilege log “discloses the existence” of
            privileged documents, yet privilege logs inherently are not privileged. The
            privileged nature of attachments protects the attachments themselves from
            discovery; it does not protect from discovery a cover email that simply transmits
            such attachments.

        •   Entry Nos. 2854, 2855, 2870 and 2871—The custodians for all four documents are
            Carson Oliver, Matt Fischer, Phil Schiller and Alex Roman, all non-lawyer
            executives at Apple—and all deeply involved in the development of Apple’s link
            entitlement. Entry Nos. 2954 and 2870 are emails “regarding an upcoming call
            discussing Apple’s application for a stay of the Injunction”. (Dkt. 1125 at 8.) There
            is no indication that the contents of the emails request or convey legal advice, and
            as noted above, they cannot be withheld simply because Apple argues their
            attachments are privileged (which they are not). The titles of Entry Nos. 2855 and
            2871 indicate that they are drafts of a business presentation discussing Apple’s
            “App Store Business Model”. Apple argues that the analyses were created to
            “assist[] Apple in developing a lawful compliance plan”. (Dkt. 1125 at 8.) But this
            Court already rejected this argument, holding that “a business analysis of ways to
            comply with a legal requirement is not privileged”. (Dkt. 1056 at 1.) Presentations
            “analyzing the App Store business model and the likely impact of commission on
            linking out” (Dkt. 1125 at 8) go to the very core of the documents Apple was
            ordered to produce—its business analyses of its compliance plan; they should not
            be withheld on “primary purpose” claims that lack any credibility. Nor could Epic
            reverse-engineer from these draft slide decks the legal advice conveyed between
            each draft, if any: several non-lawyer Apple executives and employees were also
            copied on the parent emails (in addition to a single Apple in-house counsel), any of
            whom could have provided feedback on the slide decks. Apple’s Objections
            regarding these Entries should therefore be denied.




DATED: January 23, 2025                           CRAVATH, SWAINE & MOORE LLP
                                                  By: /s/ Yonatan Even
                                                  Counsel for Plaintiff Epic Games, Inc.




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